USCA Case #24-1193        Document #2073789          Filed: 09/09/2024   Page 1 of 8



                ORAL ARGUMENT NOT YET SCHEDULED

                     U.S. COURT OF APPEALS FOR THE
                     DISTRICT OF COLUMBIA CIRCUIT



CHAMBER OF COMMERCE OF
THE UNITED STATES, et al.,

                     Petitioner,

              v.                             No. 24-1193
                                             (Consolidated with Nos. 24-1261,
U.S. ENVIRONMENTAL                           24-1266, 24-1271, and 24-1272)
PROTECTION AGENCY, et al.,

                     Respondents.


                   Joint Proposed Briefing Schedule and Format

      Pursuant to the Court’s order of August 22, 2024, ECF 2071335, the parties

jointly propose a schedule and format for briefing these consolidated cases, which

concern EPA’s Final Rule titled “Designation of Perfluorooctanoic Acid (PFOA)

and Perfluorooctanesulfonic Acid (PFOS) as CERCLA Hazardous Substances,” 89

Fed. Reg. 39,124 (May 8, 2024). Petitioners are seven industry organizations.

Respondents are EPA and Michael S. Regan, EPA’s Administrator.                  And

Respondent-Intervenors are five community and environmental organizations.

Together, these parties request that the Court enter the following briefing schedule

and format:

                                         1
USCA Case #24-1193          Document #2073789         Filed: 09/09/2024   Page 2 of 8



 Filing                            Due date               Word limit

 Petitioners’ opening brief        November 4, 2024       17,000 Words

 Respondents’ answering brief      January 17, 2025       17,000 Words

 Respondent-Intervenors’ brief     February 17, 2025      11,050 Words

 Petitioners’ reply brief          March 19, 2025         8,500 Words

 Joint appendix                    March 26, 2025

 Final form briefs                 April 2, 2025


Petitioners’ rationale for proposed format and schedule

      The proposed deadlines for Petitioners’ briefs are consistent with briefing

schedules in similar rule challenges. They also reflect the complexity of the subject

matter, the number of arguments Petitioners intend to make, and the need to

coordinate among seven Petitioners.

      Petitioners’ proposed word limits are also appropriate. The seven Petitioners

intend to challenge the Final Rule on multiple independent grounds. In addition,

their brief must cover the effects of the Final Rule on a wide variety of industries.

Petitioners’ members include entities that (for example) have produced or may have

produced PFOA or PFOS in the past, have used or may have used PFOA or PFOS

or products containing PFOA or PFOS in the past, have received or may have

received waste material containing PFOA or PFOS from third parties, may find

detectable PFOA and PFOS in their intake water, may collect, transport, process,
                                          2
USCA Case #24-1193        Document #2073789           Filed: 09/09/2024    Page 3 of 8



produce, or market secondary materials that are beneficially reused and may contain

detectable levels of PFOA or PFOS, and may be the current or former owner of

property with detectable levels of PFOA or PFOS. These entities are affected by the

Final Rule in disparate ways.

      A joint opening brief with 17,000 words will allow Petitioners to adequately

present their multiple grounds for challenge, including by addressing the industry-

specific and site-specific impacts of the Final Rule. A reply brief of half this length

(8,500 words) is consistent with the proportion set forth in the Federal Rule

32(a)(7)(B)(ii).

Respondents’ rationale for proposed format and schedule

      The proposed schedule for Respondents’ answering brief is generally

consistent with briefing schedules established in similar challenges addressing EPA

actions in this Court and reflects time needed for Respondents to obtain the necessary

management approvals at the U.S. Department of Justice and EPA, federal holidays,

and counsel’s other work commitments. Respondents seek a word count equivalent

to the requested word count of Petitioners’ opening brief—here, 17,000 words




                                          3
USCA Case #24-1193        Document #2073789           Filed: 09/09/2024    Page 4 of 8



total—which ensures equity between the parties and will allow Respondents to fully

address the arguments raised by the challengers.

Respondent-Intervenors’ rationale for proposed format and schedule

      Under this Circuit’s rules, intervenors are generally allotted 70 percent the

word limit that petitioners and respondents are entitled to.        See D.C. Cir. R.

32(e)(2)(B)(i) (9,100 words for intervenor brief); Fed. R. App. P. 32(a)(7)(B)(i)

(13,000 words for principal briefs). Accordingly, when this Court extends the length

of petitioners’ briefs, it routinely extends the length of intervenors’ briefs as well.

See, e.g., Western States Trucking Assn. v. EPA, D.C. Cir. No. 23-1143, ECF#

2017811 (Sept. 19, 2023) (Respondent-Intervenor briefs of 13,200 words total);

Texas v. EPA, D.C. Cir. No. 22-1031, ECF# 1965622 (Sept. 22, 2022) (14,700 words

total), State of Ohio v. EPA, D.C. Cir. No. 22-1081, ECF# 1965631 (Sept. 20, 2022)

(14,700 words total). Intervenors’ requested 11,050 word limit is less than 70

percent of the 17,000 word limit requested by Petitioners, and it would provide

sufficient space to address the broad legal and technical challenges that Petitioners

are expected to raise. Intervenors’ requested briefing deadline of February 17, 2025,

one month after Respondents’ answering brief, would provide time for Intervenors

to review Respondents’ brief and, consistent with this Circuit’s rules, to “avoid

repetition of facts or legal arguments made” by Respondents. D.C. Cir. R. 28(d)(2).




                                          4
USCA Case #24-1193     Document #2073789        Filed: 09/09/2024   Page 5 of 8



Dated: September 9, 2024            Respectfully Submitted,


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                                    5
USCA Case #24-1193       Document #2073789             Filed: 09/09/2024    Page 6 of 8



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                                          6
USCA Case #24-1193     Document #2073789           Filed: 09/09/2024   Page 7 of 8



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                                       7
USCA Case #24-1193       Document #2073789          Filed: 09/09/2024    Page 8 of 8



                     Certificates of Compliance and Service

      I certify that this filing complies with Fed. R. App. P. 27(d)(1)(E) because it

uses 14-point Times New Roman, a proportionally spaced font.

      I also certify that this filing complies with Fed. R. App. P. 27(d)(2), because

by Microsoft Word’s count, it has 686 words, excluding the parts exempted under

Fed. R. App. P. 32(f).

      And I certify that on September 9, 2024, I filed the foregoing with the Court’s

CMS/ECF system, which will notify each party.

Dated: September 9, 2024                     Respectfully submitted,

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